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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

        UNITED STATES                                *
                                                     *
               v.                                    *MAG. NO. 22-16061*

          Daniel Lesin

                                *****
   ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

         In accordance with Standing Order 2020-06, this Court finds:
    X
         That the Defendant (or the Juvenile) has consented to the use of video

 teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

 with counsel; and

 The proceeding(s) held on this date may be conducted by:
     X
         Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

 following reason:

                    The Defendant (or the Juvenile) is detained at a facility lacking video

         teleconferencing capability.

                    Other:




Date: June 2, 2022                                                 s/José R. Almonte
                                                                JOSE R. ALMONTE
                                                                United States Magistrate Judge
